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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
FRANCES J. BELISLE,
Plaintiff,
Vv. Case No. 3:18-cv-514-MHL

LAURA BAXTER, MICHAEL
WHITTINGTON,

Defendants.
STIPULATION OF DISMISSAL
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Francis J. Belisle
and Defendants Laura Baxter and Michael Whittington, by and through their respective
undersigned counsel, hereby stipulate and agree that this action shall be DISMISSED WITH
PREJUDICE. The parties further agree each party will bear their own attorneys’ fees, expenses
and costs and that neither party will be deemed a prevailing party. This matter should be

dismissed in its entirety and stricken from the docket.

Respectfully Submitted,

 

 

 

 

/s/Steven S. Biss /s/ Jeremy D. Capps
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Counsel for Defendant
SO ORDERED ;
by i fh J 4 Is}
M. Hannah Lauck

United States District Judge

 

 

 
